Case 1:20-cv-21553-MGC Document 162-3 Entered on FLSD Docket 06/15/2020 Page 1 of 14
Case 1:20-cv-21553-MGC Document 162-3 Entered on FLSD Docket 06/15/2020 Page 2 of 14
Case 1:20-cv-21553-MGC Document 162-3 Entered on FLSD Docket 06/15/2020 Page 3 of 14
Case 1:20-cv-21553-MGC Document 162-3 Entered on FLSD Docket 06/15/2020 Page 4 of 14
Case 1:20-cv-21553-MGC Document 162-3 Entered on FLSD Docket 06/15/2020 Page 5 of 14
Case 1:20-cv-21553-MGC Document 162-3 Entered on FLSD Docket 06/15/2020 Page 6 of 14
Case 1:20-cv-21553-MGC Document 162-3 Entered on FLSD Docket 06/15/2020 Page 7 of 14
Case 1:20-cv-21553-MGC Document 162-3 Entered on FLSD Docket 06/15/2020 Page 8 of 14
Case 1:20-cv-21553-MGC Document 162-3 Entered on FLSD Docket 06/15/2020 Page 9 of 14
Case 1:20-cv-21553-MGC Document 162-3 Entered on FLSD Docket 06/15/2020 Page 10 of
                                      14
Case 1:20-cv-21553-MGC Document 162-3 Entered on FLSD Docket 06/15/2020 Page 11 of
                                      14
Case 1:20-cv-21553-MGC Document 162-3 Entered on FLSD Docket 06/15/2020 Page 12 of
                                      14
Case 1:20-cv-21553-MGC Document 162-3 Entered on FLSD Docket 06/15/2020 Page 13 of
                                      14
Case 1:20-cv-21553-MGC Document 162-3 Entered on FLSD Docket 06/15/2020 Page 14 of
                                      14
